                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )       Criminal No. 3:14-cr-00014
                                                      )       Judge Trauger
JOSHUA CHAPMAN                                        )
                                                      )

                                              ORDER

       By separate Order, the court has ruled on the Petition to Revoke Supervision (Docket No.

142). At the hearing held on that Petition on September 10, 2018, the parties agreed that the

defendant would benefit from being evaluated to see if he has ADHD and might benefit from

medication. It is therefore ORDERED that this standard mental health condition as follows will

be added to the terms of the defendant’s supervised release, which will recommence after his

custody sentence:

       The defendant shall participate in a mental health treatment program
       as directed by the United States Probation Office. The defendant shall
       pay all or part of the costs of such treatment if the United States Probation
       Office determines the defendant has the financial ability to do so.

       It is so ORDERED.

       ENTER this 11th day of September 2018.


                                                      ________________________________
                                                      ALETA A. TRAUGER
                                                      U.S. District Judge




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